     3:15-cv-03308-SEM-TSH # 26   Page 1 of 12
                                                                             E-FILED
                                                  Wednesday, 25 May, 2016 12:15:15 PM
                                                         Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

SAJIDA AHAD, MD, on               )
Behalf of herself and all         )
others similarly situated,        )
                                  )
     Plaintiff,                   )
                                  )
     v.                           )              No. 3:15-cv-3308
                                  )
SOUTHERN ILLINOIS                 )
SCHOOL OF MEDICINE,               )
et al,                            )
                                  )
     Defendants.                  )

                       ORDER AND OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Plaintiff Sajida Ahad, MD, has filed a lawsuit alleging

violations of various state and federal equal pay and civil rights

laws. The defendants have filed a motion to dismiss three of the

five named defendants, as well as a motion to strike paragraphs 61

through 64 of Dr. Ahad’s complaint.

     For the reasons below, the motion to dismiss three of the

named defendants from the case (d/e 14) is DENIED IN PART as

moot and GRANTED IN PART. The motion to strike paragraphs 61-

64 of the complaint (d/e 15) is DENIED.
       3:15-cv-03308-SEM-TSH # 26   Page 2 of 12




I.     The motion to dismiss

     Dr. Ahad has sued five entities (see d/e 1):

      Southern Illinois School of Medicine

      Southern Illinois University

      Board of Trustees of Southern Illinois University

      SIU Healthcare, Inc.

      SIU Physicians & Surgeons, Inc.

       The defendants argue that the five entities named in the

complaint actually constitute only two legal entities. The

defendants urge the Court to dismiss the three duplicative entities.

       The defendants’ motion to dismiss has become moot with

respect to Southern Illinois School of Medicine and Southern Illinois

University. On April 20, 2016, the Court dismissed those two

defendants pursuant to the stipulation in paragraph 4(e) on page

four of the Amended Report of the Parties’ Planning Meeting (d/e

22). See April 20, 2016 text order (dismissing Southern Illinois

School of Medicine and Southern Illinois University without

prejudice). Therefore, the Court denies as moot the defendants’

motion to dismiss Southern Illinois School of Medicine and

Southern Illinois University as defendants.
                               Page 2 of 12 
 
      3:15-cv-03308-SEM-TSH # 26   Page 3 of 12




      That leaves SIU Healthcare, Inc., which the defendants say is

merely an assumed name of SIU Physicians & Surgeons, Inc.

Naming both entities as defendants is duplicative, the defendants

argue, because the two entities are in fact the same entity.

      Dr. Ahad does not oppose the defendants’ motion to dismiss

SIU Healthcare, Inc. (See d/e 17 at ¶ 2.) Therefore, the Court

grants the defendants’ motion to dismiss SIU Healthcare, Inc.

II.   The motion to strike

      The Court may strike from a pleading “any redundant,

immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P.

12(f). Motions to strike are disfavored and will usually be denied

unless “the allegations being challenged are so unrelated to

plaintiff’s claim as to be void of merit and unworthy of any

consideration,” as well as “unduly prejudicial.” Hoffman-

Dombrowski v. Arlington Int’l Racecourse, Inc., 11 F.Supp.2d 1006,

1009 (N.D. Ill. 1998) (quotation omitted). A party will be prejudiced

if the allegation at issue will confuse the issues in the case or is so

lengthy and complex that it places an undue burden on the party.

Id.



                              Page 3 of 12 
 
     3:15-cv-03308-SEM-TSH # 26   Page 4 of 12




     Here, the defendants ask the Court to strike paragraphs 61-64

of Dr. Ahad’s complaint. The defendants acknowledge that, of the

complaint’s 106 paragraphs, 102 relate to Dr. Ahad’s gender

discrimination claims. But paragraphs 61-64, the defendants say,

have no such relationship, are “immaterial” to Dr. Ahad’s claims,

and should be stricken (d/e 15 at 2).

     Dr. Ahad argues that the defendants’ motion to strike is

untimely, as the defendants filed it only after they filed their answer

to Dr. Ahad’s complaint. See Fed. R. Civ. P. 12(f) (“The court may

act: (1) on its own motion; or (2) on a motion made by a party …

before responding to the pleading …”). But because under Rule

12(f) the Court may act on its own motion, the Court considers the

issues raised in the defendants’ motion to strike.

     A.   Paragraphs 61-63

     The defendants argue that the Court should strike paragraphs

61-63 because the allegations in those paragraphs are time-barred

and do not as a matter of law support Dr. Ahad’s discrimination

claims.

     In paragraphs 61 and 62, Dr. Ahad alleges gender-based

differential treatment with respect to her pregnancy leave and her

                             Page 4 of 12 
 
     3:15-cv-03308-SEM-TSH # 26   Page 5 of 12




subsequent performance evaluations. These claims, the defendants

say, were not timely filed with the Equal Employment Opportunity

Commission.

     In paragraph 63, Dr. Ahad alleges further unequal treatment

relating to her pregnancy leave, in the form of a hostile work

environment, “negative[] referenc[es]” to the leave, and blaming

workplace problems on the leave (d/e 1 at ¶ 63). This allegation,

the defendants say, does not rise to the level of being an “adverse

employment action” for the purposes of alleging discrimination (d/e

15 at 2).

     But as Dr. Ahad notes in her response, the defendants are

“conflat[ing] what is relevant with what is actionable” (d/e 18 at 3).

Conduct that is not actionable may still provide relevant

background information to support timely claims. AMTRAK v.

Morgan, 536 U.S. 101, 113 (2002) (failure to timely file employment

discrimination claim with Equal Employment Opportunity

Commission does not “bar an employee from using the prior acts as

background evidence to support a timely claim”); Smart v. Ball

State Univ., 89 F.3d 437, 442 (7th Cir. 1996) (negative performance

evaluation alone does not likely constitute “adverse employment

                             Page 5 of 12 
 
     3:15-cv-03308-SEM-TSH # 26   Page 6 of 12




action,” but “[t]here are certainly cases where allegedly undeserved

performance evaluations have been presented as evidence of

discrimination on the basis of sex”); Oest v. Ill. Dep’t of Corr., 240

F.3d 605, 613 (7th Cir. 2001) (non-actionable conduct “can

constitute relevant evidence of discrimination with respect to other

[actionable] employment actions”).

     For this reason, the Court agrees with its sister courts that

have declined to strike portions of complaints in similar or more

extreme situations. See Lee v. Northwestern Univ., No. 10-1157,

2010 U.S. Dist. LEXIS 69582, *15 (N.D. Ill. July 13, 2010) (denying

motion to strike) (“Despite our conclusion that events preceding

November 2008 cannot provide a basis for liability, their inclusion

within the complaint provides background information to the timely

claims …. [t]hey are thus not irrelevant, as [defendant] claims.”);

Prime Time Mktg. Mgmt. v. Beta Fin. Co., No. 09-273, 2010 U.S.

Dist. LEXIS 100093, *4 (N.D. Ill. Sept. 22, 2010) (because

paragraphs contained relevant background information, denying

motion to strike 50 consecutive paragraphs not mentioning

defendant); Walker v. Graham, No. 99-2481, 2000 U.S. Dist. LEXIS

11153 (N.D. Ill. June 27, 2000) (denying motion to strike) (“As far as

                             Page 6 of 12 
 
     3:15-cv-03308-SEM-TSH # 26   Page 7 of 12




the court can see, Walker is not seeking compensation for these

[time-barred] actions … and these allegations are included only as

background information.”).

     The defendants cite two cases in which a court granted a

motion to strike untimely allegations: Tragas v. City of Chicago, No.

97-8303, 1998 U.S. Dist. LEXIS 16878 (N.D. Ill. Oct. 23, 1998), and

Golden v. Village of Glenwood, No. 14-7247, 2015 U.S. Dist. LEXIS

27477 (N.D. Ill. Mar. 6, 2015). But in Tragas, the court struck

sections of the plaintiff’s complaint that sought untimely relief

without meeting the “continuing violation” doctrine. 1998 U.S.

Dist. LEXIS 16878 at *6-8. Similarly, in Golden, the court

dismissed the plaintiff’s malicious prosecution claim as untimely

and struck the portions of the complaint relating to it. 2015 U.S.

Dist. LEXIS 27477 at *2. Here, Dr. Ahad merely seeks to use

evidence of untimely or non-actionable conduct to support her

timely claims (d/e 18 at 5). For this reason, the Court declines to

strike paragraphs 61-63 of Dr. Ahad’s complaint.

     B.   Paragraph 64

     In paragraph 64, Dr. Ahad refers to complaints made by two

women in SIU’s pediatric residency program alleging unfair

                             Page 7 of 12 
 
     3:15-cv-03308-SEM-TSH # 26   Page 8 of 12




treatment by attending physicians. The defendants describe this as

“simply a mudslinging attempt … to interject immaterial and

ultimately disproven allegations” into the case (d/e 15 at 2). The

defendants argue that the Court should strike paragraph 64

because the paragraph’s contents have “no possible bearing” on Dr.

Ahad’s claims (d/e 16 at 6). The defendants contend that

paragraph 64 represents Dr. Ahad’s effort to “impermissibly

broaden the scope of her discrimination claims” (d/e 16 at 6).

Striking the paragraph, the defendants say, will “remove

unnecessary clutter from the case” and prevent the defendants from

having to defend against “immaterial claims” (d/e 16 at 6).

     But the Court agrees with Dr. Ahad that the defendants’

treatment of other women is relevant to Dr. Ahad’s discrimination

claims. An employer’s “behavior toward or comments directed at

other employees in the protected group” can be relevant to showing

the employer’s intent. Mullin v. Temco Mach., Inc., 732 F.3d 772,

776-77 (7th Cir. 2013); see also Bouhmedi v. Plastag Holdings, LLC,

489 F.3d 781, 792 (7th Cir. 2007) (allowing plaintiffs to rely on

“behavior toward or comments directed at other employees in the

protected group, and other bits and pieces from which an inference

                             Page 8 of 12 
 
     3:15-cv-03308-SEM-TSH # 26   Page 9 of 12




of discriminatory intent might be drawn”); Hasan v. Foley & Lardner

LLP, 552 F.3d 520, 529 (7th Cir. 2008) (“behavior toward or

comments directed at other employees in the protected group is one

type of circumstantial evidence that can support an inference of

discrimination”) (internal quotation omitted); Butta-Brinkman v.

Financial Collection Agencies Int’l, 164 F.R.D. 475, 476 (N.D. Ill.

1995) (declining to limit discovery of other employees’ complaints,

because company-wide information was relevant to defendant’s

anti-harassment policy’s effectiveness); Kern v. Univ. of Notre Dame

Du Luc, No. 96-406, 1997 U.S. Dist. LEXIS 21158, *7 (N.D. Ind.

Aug. 12, 1997) (ordering discovery regarding College of Business

Administration employees outside plaintiff’s specific department, on

grounds of relevance to plaintiff’s discrimination claims).

     In support of their position, the defendants cite Douglas v.

Lofton, No. 12-8592, 2013 U.S. Dist. LEXIS 70051 (N.D. Ill. May 17,

2013). There, the plaintiff’s complaint included several dozen

paragraphs describing other alleged victims of the defendants’

discrimination. The court granted the defendants’ motion to strike

the paragraphs on the ground that the paragraphs were not

relevant or material to the plaintiff’s discrimination claims. The

                             Page 9 of 12 
 
     3:15-cv-03308-SEM-TSH # 26   Page 10 of 12




plaintiff argued that the paragraphs were relevant because they

related to similar abuse by the defendants, but the court struck the

paragraphs on the grounds that: (1) the plaintiff had failed to

provide “any factual allegations” about whether the other alleged

victims were “similarly situated” or suffered the same injuries as the

plaintiff; and (2) the plaintiff had failed to allege that the defendants

had discriminated against those employees in a “similar” manner.

Id. at *36-38.

     The Court finds Douglas distinguishable. First, in striking

paragraphs 16-23 of the plaintiff’s complaint after dismissing

several counts in the complaint, the Douglas court noted that the

paragraphs were “irrelevant and immaterial to [the plaintiff’s]

remaining claims.” Id. at *36 (emphasis added). Here, the Court

has not dismissed any of Dr. Ahad’s claims.

     Second, in striking paragraphs 34-37 and 41-59 of the

plaintiff’s complaint—paragraphs that described other employees

against whom the employer allegedly discriminated—the Douglas

court noted that the discrimination alleged in those paragraphs was

“very different” than the type of discrimination the plaintiff alleged

had happened to her. Id. at *37. For example, the paragraphs

                             Page 10 of 12 
 
       3:15-cv-03308-SEM-TSH # 26   Page 11 of 12




described a male teacher who was discriminated against because of

his hearing loss, and another teacher who was discriminated

against because of child abuse allegations. The court found that

the plaintiff had not alleged that her employer “discriminated

against these [other employees] in any manner similar to [the

plaintiff’s own] allegations of discrimination”—discrimination that

allegedly had taken the form of an assault and a “campaign of

harassment.” Id. at *32-38. Here, by contrast, Dr. Ahad has

alleged that other women “experienced or complained of the

discriminatory atmosphere for women” that the defendants in this

case created (d/e 1 at ¶ 64). An employer’s “behavior toward or

comments directed at other employees in the protected group” can

be relevant to showing the employer’s intent. Mullin, 732 F.3d at

776-77.

       Because the Court agrees with Dr. Ahad that the defendants’

treatment of other women is relevant to Dr. Ahad’s discrimination

claims, the Court declines to strike paragraph 64.

III.   Conclusion

       The defendants’ motion to dismiss improperly joined parties

(d/e 14) is DENIED IN PART as moot and GRANTED IN PART. SIU

                              Page 11 of 12 
 
    3:15-cv-03308-SEM-TSH # 26   Page 12 of 12




Healthcare, Inc. is DISMISSED from this litigation. (As explained

above, Southern Illinois School of Medicine and Southern Illinois

University have already been dismissed.)

     The defendants’ motion to strike paragraphs 61-64 of the

complaint (d/e 15) is DENIED.

ENTERED: May 25, 2016

FOR THE COURT:                s/ Sue E. Myerscough
                              SUE E. MYERSCOUGH
                         UNITED STATES DISTRICT JUDGE
 




                           Page 12 of 12 
 
